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 9                               UNITED STATES DISTRICT COURT
l0                           NORTHERN DISTRICT OF CALIF'ORNIA
11                                  SAN FRANCISCO DIVISION
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l3   IN RE: CATHODE RAY TUBE (CRT)            Master File No. CY- 07-5944-SC
     ANTITRUST LITIGATION
t4                                            MDL No. 1917
     This Document Relates to:
15
                                               FINAL JUDGMENT OF DISMISSAL WITH
I6                                             PREJUDICE AS TO DEF'ENDANT BEIJING
     ALL DIRECT PURCHASER ACTIONS              MATSUSHITA COLOR CRT CO.. LTD.
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       FINAL ruDGEMENT OF DISMISSAL WITH PREruDICE AS TO BMCC_ CV-07-5944-SC
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 I           This matter has come before the Court to determine whether there is any cause why this

 2   Court should not approve the release and dismissal of Defendant Beijing Matsushita Color CRT
 a
 J   Co., Ltd. ("BMCC") ("Defendant") set forth in the Settlement Agreement ("Agreement"), dated

 4   June 4, 2012, relating to the above-captioned litigation. The Court, after carefully considering all

 5   papers filed and proceedings held herein and otherwise being fully informed in the premises, has

 6   determined (1) that the Settlement should be approved, and (2) that there is no just reason for delay

 7   of the entry of this Final Judgment approving this Agreement. Accordingly, the Court directs entry

 8   of Judgment which shall constitute a final adjudication of this case on the merits as to the parties to

 9   the Agreement. Good cause appearing therefor, it is:

10          ORDERED, ADJUDGED AND DECREED THAT:

11           l.     The Court has jurisdiction over the subject matter of this litigation, and all actions

t2   within this litigation and over the parties to the Agreement, including all members of the Class and

l3   the Defendants.

T4          2.      The definitions of terms set forth in the Agreement are incorporated hereby as

15   though fully set forth in this Judgment.

l6          3.      The Court hereby finally approves and confirms the settlement set forth in the

t7   Agreement and finds that said settlement is, in all respects, fair, reasonable and adequate to the

18   Class pursuant to Rule 23 of the Federal Rules of Civil Procedure.

T9          4.      Pursuant to Fed. R. Civ. P.23(g), Lead Counsel, previously appointed by the Court,

20   Saveri & Saveri Inc., is appointed as counsel for the Class. This firm has and will fairly and

2l   competently represent the interests of the Class.

22          5.      The persons/entities identified on Exhibit C to the Declaration of Markham

ZJ   Sherwood in Support of Motion for Final Approval of Class Action Settlements filed on November

24   26,2012, have timely and validly requested exclusion from the Class and, therefore, are excluded.

25   Such persons/entities are not included in or bound by this Final Judgment. Such persons/entities are

26   not entitled to any recovery of the settlement proceeds obtained through this settlement.

27          6.      This Court hereby dismisses on the merits and with prejudice the Action in favor of

28   BMCC, with each party to bear their own costs and attomeys' fees.

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 1           7.       All persons and entities who are Releasors are hereby barred and enjoined from
 2   commencing, prosecuting or continuing, either directly or indirectly, against the BMCC Releasees,
 a
 J   in this or any other jurisdiction, any and all claims, causes of action or lawsuits, which they had,

 4   have, or in the future may have, arising out of or related to any of the settled claims as defined in

 5   the Agreement.

 6           8.       The BMCC Releasees, are hereby and forever released and discharged with respect

     to any and all claims or causes of action which the Releasors had or have arising out of or related to

 8   any of the settled claims as defined in the Agreement.

 9          9.       The notice given to the Class of the settlement set forth in the Agreement and the

t0   other matters set forth herein was the best notice practicable under the circumstances, including

tl   individual notice to all members of the Class who could be identif,red through reasonable efforts.

t2   Said notice provided due and adequate notice of those proceedings and of the matters set forth

13   therein, including the proposed settlement set forth in the Agreement, to all persons entitled to such

I4   notice, and said notice fully satisfied the requirements of Rules 23(c)(2) and 23(e)(l) of the Federal

15   Rules of Civil Procedure and the requirements of due process.

t6           10.     Without affecting the finality of this Judgment in any way, this Court hereby retains

T7   continuing jurisdiction over: (a) implementation of this settlement and any distribution to Class

l8   Members pursuant to further orders of this Court; (b) disposition of the Settlement Fund (c) hearing

t9   and determining applications by plaintiffs for attorneys' fees, costs, expenses, and interest; (d) the

20   Action until the Final Judgment contemplated hereby has become effective and each and every act

2l   agreed to be performed by the parties all have been performed pursuant to the Agreement; (e)

22   hearing and ruling on any matters relating to the plan of allocation of settlement proceeds; and (f)

¿J   all parties to the Action and Releasors, for the purpose of enforcing and administering the

24   Agreement and the mutual releases and other documents contemplated by, or executed in

25   connection with the Agreement

26          1   1.   The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil

27   Procedure, that this Final Judgment should be entered and fuither finds that there is no just reason

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 1   for delay in the entry of this Judgment, as a Final Judgment, as to the parties to the Agreement.

 2   Accordingly, the Clerk is hereby directed to enter Judgment forthwith.

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 4            IT IS RECOMMENDED.

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     Dated:
 7                                                        Hon. Charles A. Legge (Ret.)
                                                          Special Master
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              REVIEV/ED AND IAPPROVED OR MODIFIED]
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I2   Dated:
                                                          Hon. Samuel Conti
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                                                          United States District Judse
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